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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

In re:                                               )           Chapter 11
                                                     )
EAT HERE BRANDS, LLC, et al.1,                       )           Lead Case No. 19-61688-WLH
                                                     )
                 Debtors.                            )           Jointly Administered
                                                     )

 MOTION OF DEBTORS FOR ENTRY OF (I) AN ORDER (A) AUTHORIZING AND
     APPROVING BID PROCEDURES IN CONNECTION WITH THE SALE OF
    SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS; (B) SCHEDULING AN
 AUCTION AND SALE HEARING; (C) APPROVING THE MANNER AND FORM OF
 NOTICES OF THE SALE, AUCTION, AND SALE HEARING; AND (D) GRANTING
     RELATED RELIEF; AND (II) AN ORDER (A) APPROVING THE SALE OF
 SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL
   INTERESTS; (B) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF
       CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES;
                   AND (C) GRANTING RELATED RELIEF

         Eat Here Brands, LLC, Babalu Atlanta #1 LLC, Babalu Atlanta #2 LLC,

Babalu Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu Memphis #2 LLC, Babalu, LLC,

and Babalu Birmingham #1 LLC (collectively, the “Debtors”) hereby move this Court

(the “Motion”), pursuant to Sections 105, 363, and 365 of title 11 of the United States Code

(the “Bankruptcy Code”) and Rules 2002, 6004, 6006, 9006, and 9008 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of: (i) an order (a) authorizing and

approving bid procedures for the sale of substantially all of the Debtors’ assets; (b) approving the

form of the APA (as defined below), (c) scheduling an Auction and Sale Hearing (each as

defined below); (d) approving the manner and form of notices of Sale, the Auction, and Sale



1         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
#2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
(4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892). The Debtors’ mailing address is 9755
Dogwood Road, Suite 200, Roswell, Georgia 30075.




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Hearing; and (e) granting related relief; and (ii) an order (a) approving the sale of substantially

all of the Debtors’ assets free and clear of all liens, claims, interests, and encumbrances; (b)

authorizing the assumption and assignment of certain executory contracts and unexpired leases;

and (c) granting related relief. In support of this Motion, the Debtors respectfully state as

follows:

                            SUMMARY OF RELIEF REQUESTED

         1.      The Debtors have negotiated a proposed transaction with Balu Holdings, LLC

(the “Stalking Horse Bidder; together with the Debtors, the “Parties”). The Stalking Horse

Bidder has agreed to purchase substantially all of the Debtors’ assets (the “Acquired Assets”),

subject to Court approval, pursuant to the Asset Purchase Agreement, dated September 9, 2019,

by and among the Parties (the “APA”). A true and correct copy of the APA is attached to this

Motion as Exhibit A. The APA transaction is subject to higher and better offers. In furtherance

of the Debtors’ efforts to maximize the value of their respective bankruptcy estates, they intend

to conduct an Auction for Qualified Bidders (as defined below) to seek other bids to purchase the

Acquired Assets. To further this process, the Debtors seek entry of two orders:

         First, the “Bid Procedures Order” attached to this Motion as Exhibit B:

         (i)     authorizing and approving bid procedures (the “Bid Procedures”) for the sale of

the Acquired Assets;

         (ii)    approving the form of the APA;

         (iii)   approving procedures for the assumption and assignment of certain executory

contracts and unexpired leases;

         (iii)   scheduling an auction (the “Auction”) and a hearing to approve the proposed sale

of Acquired Assets (the “Sale Hearing”);




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         (iv)   approving the manner and form of Notice of the Auction and Sale Hearing for the

sale of substantially all of the Debtors’ assets free and clear of all liens, claims, interest, and

encumbrances, substantially in the form attached to this Motion as Exhibit C

(the “Sale Notice”); and

         (v)    granting related relief.

         Second, the “Sale Order” in a form substantially similar to the proposed order to be filed2

(as may be modified by a party other than the Stalking Horse Bidder if such other party is the

Successful Bidder (as defined below)):

         (i)    approving and authorizing the sale of the Acquired Assets free and clear of all

liens, claims, interests, and encumbrances, except to the extent set forth in the APA or the

Successful Bidder’s asset purchase agreement;

         (ii)   authorizing the assumption and assignment of certain executory contracts and/or

unexpired leases, and granting related relief.

                                            BACKGROUND

         A.     General Background

         2.     On July 30, 2019 (the “Petition Date”), the Debtors each commenced voluntary

cases (the “Bankruptcy Cases”) under Chapter 11 of the Bankruptcy Code.

         3.     The Debtors have continued in possession of their properties and have continued

to operate and manage their respective businesses as debtors-in-possession pursuant to

Sections 1107(a) and 1108 of the Bankruptcy Code.

         4.     Additional information about the Debtors’ businesses and the events leading up to

the commencement of the Bankruptcy Cases can be found in the Declaration of Ned Lidvall,

2        The Debtors will file the form of the proposed Sale Order within thirty (30) days after the filing of
this Motion.



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Chief Executive Officer of the Debtors, in Support of Chapter 11 Petitions and First-Day Orders

[Docket No. 5] (the “Lidvall Declaration”), which is incorporated herein by reference.

The Debtors may file further declaration(s) in support of the Bid Procedures and approval of the

proposed sale as they deem necessary under the circumstances.

         5.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The

venue of these Bankruptcy Cases and this Motion is proper pursuant to 28 U.S.C. §§ 1408

and 1409.

         6.    On August 20, 2019, the Court entered a Final DIP Order in these Bankruptcy

Cases [Docket No. 69] as amended by that certain Amended Final DIP Order [Docket No. 103]

(the “Final DIP Order”), which, among other things, authorized the Debtors to use cash collateral

and the proceeds of the Debtors’ DIP loan from Origin Bank pursuant to a budget, which was

attached to the DIP Financing Motion [Docket No. 16] as Exhibit C (the “Budget”).

         7.    The Final DIP Order provides that it shall be a default under the DIP Order if the

Debtors fail to: (i) file a bidding procedures motion with or without a stalking horse on or before

September 10, 2019; (ii) obtain entry of a bidding procedures order within twenty-four (24) days

of Debtors’ filing of the bidding procedures motion; (iii) obtain entry of an order approving the

sale of all or substantially all of the Debtors’ assets on or before October 18, 2019, or (iv) close a

sale of all or substantially all of the Debtors’ assets on or before October 27, 2019.

         8.    At the first day hearing in these Bankruptcy Cases, in light of the sale milestones

set forth in the Final DIP, the Court provided the Debtors with September 26, 2019 and October

18, 2019, as placeholders for hearings to consider bidding procedures related to any proposed




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sale of all or substantially all of their assets and a hearing to ultimately approve a proposed sale

of the Debtors’ assets.

         9.      If the Stalking Horse Bidder is the Successful Bidder (as defined below) and

closes on the acquisition of the Acquired Assets, it is contemplated that the Stalking Horse

Bidder will hire substantially all of the Debtors’ current employees to continue to operate the

Debtors’ businesses.

         B.      The Stalking Horse Bidder’s APA

         10.     The following is a summary of the pertinent terms of the APA, which the Debtors

will make available to third-party bidders:3

                      Acquired Assets: Section 1.1 of the APA describes the Acquired Assets,
                         which are comprised of substantially all of the Debtors’ assets.
                         The Acquired Assets do not include the Excluded Assets, which are
                         described in Section 1.2 of the APA. Excluded Assets include all claims
                         and causes of actions of the Debtors against third parties, including those
                         arising under Sections 544, 547, 548, 549, and 550 the Bankruptcy Code.
                         Section 1.3 includes the assignment of certain executory contracts and
                         unexpired leases, which will be identified in Schedules 1.1(f) and 1.3(b) of
                         the APA, together with any applicable cure costs.

                      Assumed Liabilities: The Stalking Horse Bidder will not assume or have any
                         responsibility with respect to any liabilities of the Debtors or the Debtors’
                         customers, other than the Assumed Liabilities, which will be described in
                         Section 2.3of the APA.

                      Purchase Price: $ 3,620,000 consisting of the cash component set forth in the
                         APA plus the Assumed Liabilities, less cure costs up to the sum of
                         $100,000.

                      Termination: The APA may be terminated:

                          (i)      by mutual written agreement of the Parties prior to the Closing;



3        The following summary is qualified in its entirety by reference to the provisions of the APA. In the event
of any inconsistencies between the provisions of the APA and the summary in this Motion, the terms of the APA, as
applicable, shall control. Unless otherwise defined in the summary set forth in the accompanying text, capitalized
terms shall have the meanings assigned to such terms in the APA, as applicable.



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                    (ii)     by the Debtors if there has been a material breach by the Stalking
                             Horse Bidder, which breach the Stalking Horse Bidder has failed
                             to cure within thirty (30) days following its receipt of written
                             notice thereof from Debtors and which breach would cause the
                             condition set forth in Section 4.1(a) of the APA not to be satisfied;

                    (iii)    by the Debtors upon delivery of written notice to the Stalking
                             Horse Bidder, if any condition precedent of the Debtors specified
                             in Section 4.1 shall not have been satisfied or waived and shall
                             have become impossible to satisfy, unless the failure of such
                             condition to have been satisfied was caused primarily by a material
                             breach by the Debtors;

                    (iv)     by the Debtors if the Court enters the Sale Order approving a sale
                             to another Qualified Bidder (as defined in the Bid Procedures) or
                             confirming any Chapter 11 Plan involving any other Alternative
                             Transaction;

                    (v)      by the Debtors upon delivery of written notice to the Stalking
                             Horse Bidder, if the Closing shall not have occurred on or before
                             5:00 p.m. (Central) on October 27, 2019, but only to the extent the
                             Closing has not occurred as of October 27, 2019 for reasons other
                             than the Debtors’ failure to meet their obligations under the APA;

                    (vi)     by the Debtors if the Bankruptcy Cases are dismissed or converted
                             to cases under Chapter 7 of the Bankruptcy Code, or if any trustee
                             is appointed in the Bankruptcy Cases;

                    (vii)    by the Stalking Horse Bidder if the Bid Procedures Order is not
                             entered by the Court by September 29, 2019;

                    (viii)   by the Stalking Horse Bidder if the Sale is not entered by the Court
                             by October 18, 2019;

                    (ix)     by the Stalking Horse Bidder if there has been a material breach by
                             a Debtor, which breach such Debtor has failed to cure within thirty
                             (30) days following its receipt of written notice thereof from the
                             Stalking Horse Bidder and which breach would cause the condition
                             set forth in Section 4.2(a) of the APA not to be satisfied;

                    (x)      by the Stalking Horse Bidder if any condition precedent of
                             Purchaser specified in Section 4.2 of the APA shall not have been
                             satisfied or waived and shall have become impossible to satisfy,
                             unless the failure of such condition to have been satisfied was
                             caused primarily by a material breach by the Stalking Horse
                             Bidder;




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                    (xi)    by the Stalking Horse Bidder if the Court enters the Sale Order
                            approving a sale to another Qualified Bidder or confirming any
                            Chapter 11 Plan involving any other Alternative Transaction;

                    (xii)   by the Stalking Horse Bidder if the Closing shall not have occurred
                            on or before 5:00 p.m. (Central) on October 27, 2019, but only to
                            the extent the Closing has not occurred as of October 27, 2019 for
                            reasons other than the Stalking Horse Bidder’s failure to meet its
                            obligations under the APA;

                    (xiii) by the Stalking Horse Bidder if the Bankruptcy Cases are
                           dismissed or converted to cases under Chapter 7 of the Bankruptcy
                           Code, or if any trustee is appointed in the Bankruptcy Cases;

                    (xiv)   by the Stalking Horse Bidder, if for any reason the Debtors are
                            unable, or fail, to assume and assign to the Stalking Horse Bidder
                            at the Closing any of the Restaurant Leases (as such term is
                            defined in the APA) except to the extent (x) the Stalking horse
                            Bidder elects in accordance with the APA that a Restaurant Lease
                            will not constitute a Purchased Contract (as such term is defined in
                            the APA) or (y) the Restaurant to which the Restaurant Lease
                            relates is excluded from the Contemplated Transactions (as such
                            term is defined in the APA) in accordance with Section 11.4 of the
                            APA; or

                    (xv)    by the Stalking Horse Bidder, if the Debtors have delivered a
                            Casualty Notice (as such term is defined in the APA) to the
                            Stalking Horse Bidder in respect of a Material Casualty (as such
                            term is defined in the APA); provided that, the Stalking Horse
                            Bidder delivers such written notice no later than five (5) days after
                            the Debtors delivered such Casualty Notice.

               Good Faith Deposit: The Stalking Horse Bidder has provided the Debtors
                 with a good faith deposit in the amount of $362,000.

               Exclusivity Period: None.

               Expense Reimbursement: A contingent expense reimbursement
                  (the “Expense Reimbursement”) of all actual, necessary, and documented
                  out of pocket expenses not to exceed $25,000 to be paid to the Stalking
                  Horse Bidder in the event that the Stalking Horse Bidder terminates the
                  APA under Section 14.4(e) of the APA and the Debtors fail to
                  consummate an Alternative Transaction (as such term is defined in the
                  APA). See Sections 12.5 and 14.4(e) of APA.

               Break-Up Fee: A break-up fee of $50,000 in the event that the Debtors close
                  an Alternative Transaction (as such term is defined in the APA)
                  (the “Break-Up Fee”). See Section 12.1 through 12.4 of APA.

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                    Business Information: The Debtors have made or will make available to the
                       Stalking Horse Bidder all books, records, correspondence, customer lists,
                       and technical and financial information requested by the Stalking Horse
                       Bidder and relating to the Acquired Assets as of the date of the Closing.

                    No Successor Liability: Under the APA, the Stalking Horse Bidder will
                       acquire all of the Debtors’ right, title and interest in and to all of the
                       Acquired Assets, free and clear of any liens, claims, interests, or
                       encumbrances.

                    Sale of Avoidance Actions: Avoidance actions are excluded from the
                       Acquired Assets.

                    Sale Free and Clear of Unexpired Leases: None.

                    Relief from Bankruptcy Rule 6004(h): Under the APA, the Sale Order shall
                      provide for the waiver of the fourteen (14) day stay period under
                      Rule 6004(h) of the Bankruptcy Rules.

                Provisions to be Highlighted Pursuant to General Order No. 26-2019

         11.    General Order No. 26-2019 (the “Court Procedures Order”) promulgates certain

procedures for use in complex chapter 11 cases that requires that sale motions must highlight the

following provisions (the “Highlighted Provisions”), identify the location of any such provision

in the proposed order, and justify such inclusion:

                a.      Sale to Insider. Section H.3.i of the Court Procedures Order requires
         disclosure of provisions in which the proposed sale is to an insider. This Stalking Horse
         Bidder is not an insider, so this provision is inapplicable.

                 b.     Agreements with Management. Section H.3.ii of the Court Procedures
         Order requires the disclosure of any (1) material terms of any such agreements with
         management or key employees regarding future compensation and (2) what measures
         have been taken to ensure the fairness of the sale in light of any such agreements. The
         Stalking Horse Bidder may have general discussions with current management about
         potential employment post-closing and/or bonuses to be paid during the cases should the
         Stalking Horse Bidder be the Successful Purchaser. Any other Qualified Bidder shall be
         permitted the opportunity to have similar discussions with current management.

                c.      Releases. Section H.3.iii of the Court Procedures Order requires the
         disclosure of any provisions pursuant to which an entity is being released or claims are
         being waived or otherwise satisfied. No releases are contemplated under the APA.

               d.     Private Sale/No Competitive Bidding. Section H.3.iv of the Court
         Procedures Order requires disclosure of whether an auction is contemplated and highlight

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         whether the Debtors have agreed not to solicit competitive offers or otherwise limit the
         shopping of the assets to be sold. The Debtors are seeking approval of Bid Procedures
         and to continue to market their assets on a post-petition basis, so this provision
         is inapplicable.

                e.      Closing and Other Deadlines. Section H.3.v. of the Court Procedures
         Order requires the disclosure of any deadlines for the closing of the sale or deadlines that
         are conditions to closing. Currently, the Final DIP Order in these Bankruptcy Cases
         contemplates that it shall be an event of default under the Final DIP Order unless the
         Debtors: (i) file a bidding procedures motion with or without a stalking horse on or
         before September 10, 2019; (ii) obtain entry of a bidding procedures order within twenty-
         four (24) days of Debtors’ filing of the bidding procedures motion; (iii) obtain entry of an
         order approving the sale of all or substantially all of the Debtors’ assets on or before
         October 18, 2019, or (iv) close a sale of all or substantially all of the Debtors’ assets on or
         before October 27, 2019.

                 f.     Good Faith Deposit. Section H.3.vi of the Court Procedures Order
         requires the disclosure of a good faith deposit and the conditions for forfeiting the
         deposit. As set forth above, the Stalking Horse Bidder has provided the Debtors with a
         good faith deposit in the amount of $362,000. The Bid Procedures contemplate any
         proposed alternative bidder must provide a deposit equal to at least ten percent (10%) of
         the cash component of the purchase price of such bid.

                 g.    Interim Arrangements with Proposed Buyer. Section H.3.vii of the Court
         Procedures Order requires the disclosure of any interim arrangement with the proposed
         buyer. No interim arrangements prior to the closing are contemplated. Upon closing, the
         parties may execute one or more management agreements to address any interim
         arrangements necessary pending the transfer of liquor licenses to the Stalking Horse
         Bidder.

         12.    The Debtors respectfully submit that the inclusion of the Highlighted Provisions

is required and appropriate under the circumstances.

                            PREPETITION MARKETING PROCESS

         13.    Beginning in July 2019, Debtors’ management with the assistance of

GGG Partners, LLC (“GGG”), Debtors’ financial advisor, and the Debtors’ other professional

advisors, commenced marketing efforts to locate a potential purchaser for the Debtors assets.

The Debtors attempted to find a buyer or financial partner to provide the Debtors with sufficient

resources to continue their businesses and restructuring strategy.




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         14.   As part of this pre-petition (mostly performed by company management) and

post-petition marketing process, GGG assisted the Debtors in: (a) preparing and negotiating

confidentiality agreements for prospective purchasers; (b) preparing detailed information about

the Debtors’ businesses, operations and financial condition; (c) identifying and contacting

potential purchasers; (d) establishing a data room for due diligence to be conducted by

prospective purchasers; (e) drafting a “teaser” describing the transaction; (f) evaluating proposals

from prospective purchasers; and (g) negotiating a stalking horse offer.

         15.   During the marketing period, GGG and the Debtors contacted over 55 potential

investors/buyers. Of those contacted, 21 parties executed confidentiality agreements and were

given operational, organizational, and financial information on the Debtors. Of those parties

executing confidentiality agreements, many made visits to the Debtors’ facilities. The Debtors

received seven letters of intent from parties interested in pursuing a deal with the Debtors.

         16.   No other offer or letter of intent received to date would have provided more

certainty of closing and value to the Debtors or their creditors than the APA with the Stalking

Horse Bidder. Should the Court approve Bid Procedures, the bid of the Staking Horse Bidder

will serve as the floor for all other interested parties for the Acquired Assets.

                       ADDITIONAL POST-PETITION MARKETING

         17.   After the anticipated approval of the Bid Procedures, GGG and the Debtors will

continue to market the Debtors assets to qualify any additional buyers and sell the Acquired

Assets to the highest and best bidder through a court-approved process as set forth in the

Bid Procedures.

         18.   The Debtors will update a transaction introduction teaser for distribution to

potential purchasers, which summary will provide a brief overview of the Debtors and their




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operations. This teaser will be sent to parties that the Debtors believe might have a potential

interest in the Acquired Assets and the financial wherewithal to consummate the transaction

(including those who the Debtors have already contacted).    A form of nondisclosure agreement

(“NDA”) will accompany the teaser. The NDA will be in a form materially similar to the one

executed by the Stalking Horse Bidder. For parties executing an NDA, the Debtors will provide

access to an electronic data room website (the “Data Room”), which contains financial

information as well as leases, contracts, and other documents pertaining to the Debtors’

operations and financial performance. All of the information may be accessed by potential

bidders (once such parties execute the NDA) via a secure invitation to the Data Room.

         19.   The Stalking Horse Bidder has provided the basis for soliciting opening bids for a

possible auction of the Acquired Assets. Pursuant to the Bid Procedures, if the Debtors receive

one or more bids from a Qualified Bidder (as defined in the Bid Procedures) an Auction will be

commenced on a date and time set by the Court. All bids for the Acquired Assets and at the

Auction must comply with the Bid Procedures approved by the Court. In the event of an

Auction, the Debtors intend to enter into a definitive asset purchase agreement with the

Successful Bidder.

         20.   The Debtors will, as necessary, supply further testimony and evidence at the

second hearing on this Motion (the “Sale Hearing”) outlining the steps they took to solicit offers

and ultimately consummate a deal with the Successful Bidder.

                                    RELIEF REQUESTED

         A.    Bid Procedures Order

         21.   By this Motion, the Debtors seek entry of the Bid Procedures Order: (i) approving

the Bid Procedures (as set forth below) and establishing procedures for providing notices to




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parties to executory contracts and unexpired leases proposed to be assumed and assigned, and an

opportunity for such counterparties to object, as set forth in the Bid Procedures; and

(ii) scheduling the Auction (if necessary) and the Sale Hearing, and approving the form and

manner of notice thereof.

                 (i)      The Bid Procedures and Cure Procedures

         22.     As described more fully in the Bid Procedures Order and summarized herein, the

Debtors seek approval to sell the Acquired Assets to a Qualified Bidder that makes the highest or

otherwise best offer for the Acquired Assets, after an additional solicitation period during which

information will be provided to any party in interest purchasing the Debtors’ assets, subject to

appropriate confidentiality agreements.

         23.     The Debtors will utilize the services of GGG and their legal counsel to help move

forward with the sale process. As set forth above, GGG will continue its pre-petition and post-

petition efforts to market the Debtors’ assets for sale to potential buyers and conduct a sale

process to aid the Debtors in identifying the highest and best bidder for the Acquired Assets.

Third parties engaging in this process will have the opportunity to conduct due diligence on the

Debtors and their assets, and any bidder constituting a Qualified Bidder shall be entitled to make

a bid at a live auction against the Stalking Horse Bidder for the Debtors’ assets.

         24.     As described more fully in the Bid Procedures, the Debtors request that

competing bids for the Acquired Assets be governed by the following procedures. 4 The Debtors

also request approval of procedures (the “Cure Procedures”) for notifying counterparties to

executory contracts and unexpired leases of potential Cure Costs (as defined below) with respect

4         The following description of the Bid Procedures is only a summary of the terms of the Bid Procedures set
forth in the Bid Procedures Order. The following summary is qualified in its entirety by reference to the provisions
of the Bid Procedures. In the event of any inconsistencies between the provisions of the Bid Procedures and the
terms herein, the terms of the Bid Procedures shall control.



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to those executory contracts and unexpired leases that the Debtors may seek to assume and

assign under the Successful Bidder’s asset purchase agreement.

               a.       Qualified Bids. The Debtors shall solicit bids through October 10, 2019
(the “Bid Deadline”). Each competing bidder other than the Stalking Horse Bidder shall, on or
before 12:00 p.m. (prevailing Eastern Time) on the Bid Deadline, deliver to the Debtors as
follows (collectively, a “Qualified Bid”):

                     (i)     a cash deposit (via certified or bank check or wire transfer) of at
                             least ten percent (10%) of the cash component of the purchase price
                             of such bid (the “Deposit”);

                     (ii)    reasonable proof acceptable to the Debtors, in consultation with the
                             official committee of unsecured creditors appointed in these
                             Bankruptcy Cases (the “Committee”) and Origin Bank, of the
                             interested party’s ability to consummate a purchase of the Acquired
                             Assets and assumption of any liabilities with respect to which such
                             bidder seeks assignment from the Debtors and provide adequate
                             assurance of future performance under all unexpired leases or
                             executory contracts with respect to which such bidder seeks
                             assignment from the Debtors, each on the terms set forth in such
                             party’s bid, including evidence of sufficient financing along with
                             any other financial information which a bidder believes
                             substantiates its ability to perform its obligations with regard to its
                             bid (collectively, “Financial Information”);

                             -and-

                     (iii)   an executed asset purchase agreement, which asset purchase
                             agreement shall (1) specify the amount of cash or other
                             consideration offered by the competing bidder for the Acquired
                             Assets (provided that the cash component of such bid may not be
                             less than the sum of $3,720,000 (which is the sum of the cash
                             component of the purchase price in the Stalking Horse Bidder’s
                             APA, the Break-Up Fee, and $50,000); (2) not be subject to
                             unperformed due diligence, financing conditions, corporate
                             approval conditions, or regulatory approval conditions, nor provide
                             for any expense reimbursement; (3) constitute an irrevocable offer
                             by such competing bidder to complete its proposed purchase upon
                             the terms set forth therein, and must confirm that it is irrevocable
                             until closing of the sale of the Acquired Assets to the Successful
                             Bidder (as defined below), and provide for an outside date of
                             closing that is on or before October 27, 2019; (4) provide for the
                             purchase of substantially all of the Acquired Assets; (5) be
                             accompanied by a marked-up version of the APA that shows all
                             differences between such asset purchase agreement and the APA


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                              (which was filed with the Court as Exhibit A to the Sale Motion);
                              (6) contain a list of the Debtors’ executory contracts and unexpired
                              leases with respect to which the bidder seeks assignment from the
                              Debtors; (7) fully disclose the identity of each entity that will be
                              bidding for the Acquired Assets or otherwise participating in
                              connection with such bid; and (8) indicate whether such competing
                              bidder agrees to act as the Back-Up Bidder (as defined below) in
                              the event that such competing bidder is not the Successful Bidder
                              (as defined below), as well as identify any date past which it would
                              not serve as the Back-Up Bidder.

                      If the competing bidder is an entity formed for the purpose of a sale
                      transaction, then such entity must provide financial disclosure acceptable
                      to Debtors that demonstrates such competing bidder’s financial ability to
                      consummate a competing sale transaction. A competing bidder also must
                      establish that it has the financial ability to consummate its proposed
                      transaction by no later than October 10, 2019. In order to participate in
                      the bidding process, receive due diligence materials, and/or otherwise be
                      considered for any purpose hereunder, a competing bidder must first
                      deliver an executed confidentiality agreement in form and substance
                      satisfactory to the Debtors and their counsel, which confidentiality
                      agreement will be made available to, among others, those interested
                      parties that contact Debtors’ counsel, provided that, if any competing
                      bidder is or is affiliated with a competitor of the Debtors, the Debtors will
                      not be required to disclose to such competing bidder any trade secrets or
                      proprietary information. If the Debtors determine that a competing bidder
                      does not constitute a Qualified Bidder (as defined below), then such
                      competing bidder’s ability to receive due diligence access or additional
                      non-public information shall terminate, except as otherwise agreed by the
                      Debtors.

               b.       Credit Bid by Prepetition and DIP Lender. Origin Bank, serves as the
Debtors’ prepetition secured lender and the Debtors’ post-petition secured lender in these
Bankruptcy Cases. Origin Bank shall be entitled to credit bid up to the full value of its pre-
petition and post-petition secured claims totaling $5,596,700.00 plus any amounts then extended
to the Debtors under the DIP loan (which additional amount shall be provided to any Qualified
Bidder at the Auction).

               c.     Qualified Bidders. Any initial overbid for the Acquired Assets shall be in
the amount equal to the sum of $3,720,000. In the event that the Debtors shall reasonably
determine that such overbid is a higher and better bid than that set forth in the APA, the Stalking
Horse Bidder shall have the right to amend the APA as necessary in its reasonable discretion, as
agreed with the Debtors, in order to cause the Stalking Horse Bidder’s bid format to be
comparable to such higher and better bid (for the avoidance of doubt, the amendment of the APA
by the Stalking Horse Bidder will in no event result in the cancellation of the Auction if the
Debtors have received at least one (1) other Qualified Bid). Only those persons or entities who
have submitted a Qualified Bid in compliance with the Bid Procedures Order shall be


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a “Qualified Bidder”; provided, however, that the Stalking Horse Bidder shall be deemed to be a
Qualified Bidder for all purposes under the Bid Procedures. Each Qualified Bidder shall be
invited to attend the Auction at the law office of Debtors’ counsel of record, Arnall Golden
Gregory LLP, 171 17th Street, N.W., Suite 2100, Atlanta, Georgia 30363-1031, which Auction
must be attended in person by the Qualified Bidder or an authorized representative of the
Qualified Bidder.

                d.      Identity of Bidders. In addition to the information required above, each
competing bidder other than the Stalking Horse Bidder shall, on or before October 10, 2019,
provide written identification of the bidder, its principals, and the representatives thereof who are
authorized to appear and act on their behalf for all purposes regarding the contemplated
transaction and written disclosure of any connections or agreements with the Debtors, the
Stalking Horse Bidder, any other known potential bidder, and/or any officer, director, manager,
or direct or indirect equity security holder of the Debtors.

               e.      The Auction. The Auction shall commence at 10:00 a.m. (Eastern) on
October 16, 2019 at the law office of Debtors’ counsel of record, Arnall Golden Gregory LLP,
171 17th Street, N.W., Suite 2100, Atlanta, Georgia 30363-1031. The Acquired Assets shall be
sold free and clear of all liens, claims, interests, and encumbrances to the fullest extent allowed
under Section 363(f) of the Bankruptcy Code and applicable law. The following rules shall
govern the Auction:

                       i.      At least 24 hours prior to the Auction, the Debtors will notify all
                               Qualified Bidders in writing of the highest and best Qualified Bid,
                               as determined by Debtors, in consultation with the Committee and
                               Origin Bank, which may be the APA (the “Baseline Bid”).
                               Complete copies of all asset purchase agreements, amendments to
                               the APA, and all other bid materials submitted by each other
                               Qualified Bidder will be available to each other Qualified Bidder
                               upon request to Debtors’ counsel of record.

                       ii.     Only Qualified Bidders may bid at the Auction. If multiple
                               Qualified Bids are received, each Qualified Bidder shall have the
                               right to continue to improve its Qualified Bid at the Auction.
                               Bidding at the Auction shall proceed in increments of at least
                               $25,000 (the “Bidding Increment”), and the Bidding Increment
                               may be increased in the Debtors’ discretion. Only the authorized
                               representatives of each of the Stalking Horse Bidder and any other
                               Qualified Bidder, the Debtors, Origin Bank, the Committee, and
                               United States Trustee shall be permitted to attend the Auction,
                               except as otherwise expressly ordered by the Court.

                       iii.    At the conclusion of the Auction, subject to Court approval
                               following the Auction, the highest and best offer shall be selected
                               and announced as the successful bidder by the Debtors
                               (the “Successful Bidder”), and the bid of the bidder that submits
                               the next highest and best bid (designated in accordance with the


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                               Debtors’ business judgment), in consultation with the Committee
                               and Origin Bank, shall be selected and announced by the Debtors
                               (the “Back-Up Bid” by the “Back-Up Bidder”); provided,
                               however, that designation of such bidder as the Back-Up Bidder
                               must be consistent with the asset purchase agreement submitted in
                               connection with such bidder’s bid. For the avoidance of doubt, if
                               there are no Qualified Bidders who agree to act as the Back-Up
                               Bidder, then there shall be no Back-Up Bidder. There will be no
                               further bids or offers considered by the Debtors following the
                               conclusion of the Auction and the announcement of the Successful
                               Bidder and, as applicable, the Back-Up Bidder.

                       iv.     If the Debtors do not receive at least one Qualified Bid from a
                               Qualified Bidder other than the Stalking Horse Bidder, then (1) no
                               Auction shall be conducted, the Debtors and the Stalking Horse
                               Bidder are authorized to move forward with the transactions
                               contemplated by the APA (subject to the entry of the Sale Order)
                               and the Sale Hearing, the transaction consideration contemplated
                               by the APA will be determinative of the value of the Acquired
                               Assets, and the Court shall not consider any competing or
                               alternative offers or proposals to purchase the Acquired Assets;
                               and (2) the Debtors will file on the docket in the Lead Bankruptcy
                               Case a “Notice of Cancellation of Auction.”

                       v.      The Auction may be adjourned from time to time by the Debtors,
                               provided that, no such adjournment shall affect the rights of the
                               Stalking Horse Bidder under the APA. Reasonable notice of such
                               adjournment and the time and place for the resumption of the
                               Auction shall be given to the Stalking Horse Bidder, all Qualified
                               Bidders that have submitted a Qualified Bid, and counsel for
                               Origin Bank, counsel for the Committee, and the
                               United States Trustee.

                f.     Successful Bidder. The Debtors may base the selection of the Successful
Bidder and Back-Up Bidder on the following factors, among others: purchase price, liabilities
assumed in the bid (provided that in no event shall the cash component required for a Qualified
Bid be reduced as a result of a bidder’s proposed assumption of liabilities), retention of the
Debtors’ employees, the markup of the form of asset purchase agreement submitted with the bid,
and the apparent ability of a Qualified Bidder to close the proposed transaction. The Debtors
may (a) reject any bid that is (i) inadequate or insufficient, (ii) not in conformity with the
requirements of the Bankruptcy Code, the Bid Procedures, or the terms and conditions of sale, or
(iii) contrary to the best interests of the Debtors, their bankruptcy estates, and their creditors;
and/or (b) refuse to consider any bid that fails to comply with the Bid Procedures. After the
determination of the Successful Bidder, the Debtors shall (i) if the Successful Bidder is a bidder
other than the Stalking Horse Bidder, promptly execute the asset purchase agreement previously
executed and submitted by such Successful Bidder, together with any changes thereto
necessitated by the parties’ actions at the Auction, or (ii) if the Successful Bidder is the Stalking


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Horse Bidder, move forward with the transactions contemplated by the APA. All rights of the
Stalking Horse Bidder, (if any) to object to the Debtors’ selection of a Successful Bidder or
Back-Up Bidder, or to object to the consummation of the sale transaction represented by either
such bid, are preserved and shall be considered by the Court at the Sale Hearing.

                g.     Back-Up Bidder. If the Successful Bidder fails to consummate an
approved sale in accordance with the applicable asset purchase agreement or such agreement is
terminated (or, in the event that the Stalking Horse Bidder is the Successful Bidder, the Parties
fail to consummate the transactions contemplated by the APA or the APA is terminated), (i) the
Debtors shall be authorized to deem the Back-Up Bid the Successful Bid, and the Debtors shall
be authorized to consummate the sale with the Back-Up Bidder without further order of the
Court (or, in the event that the Stalking Horse Bidder is the Back-Up Bidder, move forward with
the transaction contemplated by the APA, subject to the APA); provided, however, that if the
Stalking Horse Bidder is the Successful Bidder, the Back-Up Bidder shall remain the Back-Up
Bidder in accordance with the Back-Up Bidder’s asset purchase agreement; and (ii) the Deposit
provided by such defaulting bidder shall be forfeited to the Debtors in accordance with the
defaulting bidder’s asset purchase agreement. The Debtors specifically reserve the right to seek
all appropriate damages or equitable remedies from a defaulting Successful Bidder or Back-
Up Bidder.

                h.     Modification of Bidding and Auction Procedures. The Debtors, in their
sole discretion, may modify the Bid Procedures with respect to the Bid Deadline, whether a bid
that materially complies with the requirements of the Bid Procedures (as determined by the
Debtors in the reasonable exercise of their business judgment consistent with their fiduciary
duties) is a Qualified Bid, and the time, manner, and place of the Auction; provided, however,
that the Bid Procedures may not be otherwise modified except with the express written consent
of the Debtors and the Stalking Horse Bidder; provided, further, however, that in no event may
the Bid Procedures be modified to reduce the required cash component of a Qualified Bid.
All rights of the Stalking Horse Bidder in respect of any modification of the Bid Procedures by
the Debtors are preserved. The Debtors may make such modification to the Bidding Procedures
as are necessary and not inconsistent with the Bid Procedures Order.

               i.      Contract Cure Procedures. To the extent a Qualified Bidder seeks
approval in the Sale Order (as defined in the Motion) of the assumption and assignment of
executory contracts and/or unexpired leases, the following procedures (the “Cure Procedures”)
shall apply for notifying counterparties to executory contracts and unexpired leases of potential
Cure Amounts (as defined below).

                      i.     Within two days (2) days after the Bid Deadline the Debtors will
                             file a notice of potential assumption, assignment, and/or transfer of
                             executory contracts and unexpired leases identified by each
                             Qualified Bidder (the “Designated Executory Contracts”),
                             substantially in the form attached to this Motion as Exhibit D
                             (the “Notice of Assumption and Assignment”), and serve such
                             notice on all non-debtor parties to the Designated Executory
                             Contracts (the “Contract Notice Parties”). For avoidance of doubt,


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                             the Debtors shall file a Notice of Assumption related to the APA
                             within two days (2) of the entry of the Bid Procedures Order, and
                             serve such notice on all of the Contract Notice Parties.

                      ii.    The Notice of Assumption and Assignment shall identify the
                             calculation of the cure amounts, if any, that the Debtors believe
                             must be paid to cure all defaults outstanding under each of the
                             Designated Executory Contracts (the “Cure Costs”) as of such
                             date. The Notice of Assumption and Assignment shall also contain
                             information regarding how a non-debtor party to a Designated
                             Executory Contract may obtain adequate assurance of future
                             performance information from the applicable Qualified Bidder
                             (the “Adequate Assurance Information”). The Notice of
                             Assumption and Assignment shall provide that a non-debtor party
                             to a Designated Executory Contract may object to the Cure Costs,
                             the Adequate Assurance Information or the assumption and
                             assignment of such executory contract or unexpired lease at the
                             Sale Hearing or at a later hearing, as determined by the Debtors
                             subject to the Court’s calendar.

                (j)   Break-Up Fee. In the event the Successful Bidder is deemed to be a
person or entity other than the Stalking Horse Bidder, and such Successful Bidder successfully
closes on the sale of the Debtors’ assets, then, upon such closing, the Debtors shall pay the
Break-Up Fee in the amount of $50,000 to the Stalking Horse Bidder.

               (ii)   Approval of the APA

         25.   The Debtors further seek approval of the APA and approval for the Debtors to

assume the APA, subject to the Bidding Procedures and auction process. As set forth above, the

APA provides the framework for consummating the transactions negotiated between the Debtors

and the Stalking Horse Bidder.

         26.   The DIP Loan procured by the Debtors matures on October 27, 2019. The

timeline provided in this Motion contemplates a continued marketing and sale process, an

opportunity for third parties to conduct due diligence on the Debtors’ assets, an auction and

subsequent sale all within this period and prior to the maturity of the DIP Loan. If the DIP Loan

were to mature before the closing of the sale, the Debtors would deplete their funds and may be

unable to operate, including make payments to their employees, vendors, and their other



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creditors. As a result, the Debtors may experience a cessation of business, destroying all going

concern value and seriously harming the Debtors and their respective bankruptcy estates.

         27.     Given the Debtors marketing efforts to date, the proposed timeline is sufficient to

permit third parties interested in purchasing the Acquired Assets to conduct due diligence and

tender a bid.      Interested parties will have sufficient notice of the proposed sale and an

opportunity to consider and digest the terms of the APA to determine whether tendering a bid is

in their best interests, thereby maximizing the likelihood of competitive bidding under the

circumstances. In light of the Debtors’ limited resources, the proposed timeline sets out a

framework that will maximize the value of the Debtors’ with minimal cost, which is in the best

interests of the Debtors and their bankruptcy estates.

         (iii)   Notice Related to Proposed Sale

         28.     Notice of Bid Procedures Hearing. On the date that this Motion is filed, the

Debtors propose to serve this Motion and all exhibits thereto, including the APA, and a copy of

the proposed Bid Procedures Order, by first-class mail, postage prepaid, upon the following

parties: (i) all parties identified on the Master Service List in these Bankruptcy Cases, and (ii) via

electronic mail5 on all persons or entities known or reasonably believed to have an interest in

purchasing the Acquired Assets. The Debtors also propose to serve any Order and Notice or

Notice of Hearing related to this Motion upon the following parties: (i) the entire creditor matrix

in each of these Bankruptcy Cases and (ii) via electronic mail on all persons or entities known or

reasonably believed to have an interest in purchasing the Acquired Assets.

         29.     Notice of Bid Procedures Order and Bidding Procedures, Auction, and

Sale Hearing. The Debtors propose to file the Sale Notice substantially in the form attached to


5        The Debtors contacted parties interested in purchasing the Acquired Assets, including the Stalking Horse
Bidder, via electronic mail.


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this Motion as Exhibit C and serve such notice upon: (i) the entire creditor matrix in each of the

Bankruptcy Cases and (ii) via electronic mail on all persons or entities known or reasonably

believed to have an interest in purchasing the Acquired Assets. The Debtors also propose to file

a Notice of Assumption related to the Designated Executory Contracts in the APA within two

days (2) of the entry of the Bid Procedures Order, and serve such notice on all of the Contract

Notice Parties.

         30.      Post-Auction Notice. As soon as possible after the conclusion of the Auction, the

Debtors shall file, but not serve, a notice identifying the highest and best bid selected and

announced by the Debtors as the Successful Bidder, and the bid of the Back-Up Bidder. In the

event that the Successful Bidder identifies any additional executory contracts or unexpired leases

that it did not previously designate as Designated Executory Contracts, the Debtors shall file a

Notice of Assumption and Assignment identifying such additional agreements, and serve such

notice on all of the Contract Notice Parties for those agreements.

         31.      Notice of Cure Related to Designated Contracts by Qualified Bidders Other than

the Staking Horse Bidder. Within two days (2) days after the Bid Deadline the Debtors propose

to file a Notice of Assumption and Assignment substantially in the form attached to this Motion

as Exhibit D specifying the Designated Executory Contracts identified by each Qualified Bidder,

and serve such notice on all of the Contract Notice Parties.

         B.       Sale Order

         32.      The Debtors request that this Court set the Sale Hearing on or about

October 18, 2019. At the Sale Hearing, pending the outcome of the Auction and as set forth in

the Bid Procedures, the Debtors intend to seek entry of a Sale Order (a) approving the sale to the

Successful Bidder, free and clear of all liens, claims, interests, and encumbrances




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(collectively, “Interests”), (b) authorizing the assumption and assignment of the Designated

Executory Contracts identified by the Successful Bidder; and (c) authorizing the Debtors to pay

Origin Bank at closing: (i) the amount of sales proceeds necessary to repay Origin Bank’s post-

petition DIP loan in full and (ii) not less than fifty percent (50%) of all excess sales proceeds

(after considering all then budgeted administrative expenses) toward satisfaction of the Pre-

Petition Obligations (as defined in the Final DIP Order), provided that, (a) the Challenge Period

(as defined in the Final DIP Order) shall have expired on or before the closing of the Sale and

(b) no party with standing has filed a Challenge Action (as defined in the Final DIP Order) prior

to the expiration of the Challenge Period.

                             BASIS FOR RELIEF REQUESTED

         33.   The business judgment rule “operates as a presumption ‘that directors making a

business decision, not involving self-interest, act on an informed basis, in good faith and in the

honest belief that their actions are in the corporation’s best interest.’” Continuing Creditors’

Comm. of Star Telecomms., Inc. v. Edgecomb, 385 F. Supp. 2d 449, 462 (D. Del. 2004) (quoting

Grobow v. Perot, 539 A.2d 180, 187 (Del. 1988)); see also In re Diplomat Constr., Inc.,

481 B.R. 215, 218-19 (Bankr. N.D. Ga. 2012) (Diehl, J.); Ad Hoc Comm. of Equity Holders of

Tectonic Network, Inc. v. Wolford, 554 F. Supp. 2d 538, 555 n.111 (D. Del. 2008); In re Bal

Harbour Club, Inc., 316 F.3d 1192, 1194-95 (11th Cir. 2003); Int’l Ins. Co. v. Johns, 874 F.2d

1447, 1458 (11th Cir. 1989). Thus, this Court should grant the relief requested in this Motion if

the Debtors demonstrate a sound business justification in favor of the requested relief. See In re

Del. Hudson Ry. Co., 124 B.R. 169, 179 (Bankr. D. Del. 1991).

         34.   The Debtors have determined that a sale of their assets in accordance with the

APA after their marketing and sale process will be the most effective way to maximize the value




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of the Debtors’ bankruptcy estates for the benefit of their creditors in view of the Debtors’ pre

and post-petition marketing efforts to date and the Debtors’ limited resources. The proposed

transaction will also preserve the employment of many the Debtors’ employees.        The Debtors

believe that the proposed Bid Procedures will bring the highest and best offer for the Debtors’

assets under the circumstances. The Debtors believe that the assumption of the APA, the

implementation of the Bid Procedures and the timeline proposed in this Motion will further

achieve this goal. Absent approval of the sale of the Acquired Assets to the highest and best

bidder, the Debtors will likely face a piecemeal liquidation and the termination of all of their

employees.     As such, the Debtors believe that they have demonstrated a sound business

justification for the relief requested in the Motion.

         A.     Bid Procedures

         35.    The Bid Procedures – including the provision of the Break-Up Fee and contingent

Expense Reimbursement – are appropriate to generate maximum value for the Debtors’

stakeholders. The Bid Procedures, inter alia, (i) will provide opportunity to further market the

Debtors’ assets and provide potential bidders with sufficient notice and an opportunity to acquire

information necessary to submit a timely and informed bid, (ii) are designed to maximize the

value received for the Acquired Assets in view of the Debtors’ limited resources by providing

maximum opportunity to engender a competitive bidding process in which all potential bidders

are encouraged to participate and submit competing bids, and (iii) will provide the Debtors with

the opportunity to consider all competing offers and to select the highest or otherwise best offer

for the sale of substantially all of the Debtors’ assets.

         36.    The proposed Break-Up Fee of $50,000 (which is less than 1.5% of the cash

component of the purchase price in the APA) and contingent Expense Reimbursement of




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$25,000 (which is only payable in the event that the Debtors materially default and do not close

an Alternative Transaction) are necessary to compensate the Stalking Horse Bidder for funds and

other resources deployed to conduct due diligence on the Debtors’ assets, negotiate the APA

with the Debtors, and participate in the sale process.         The due diligence and negotiation

performed by the Stalking Horse Bidder have been necessary to providing the market with an

indication of the value of the Debtors’ assets and has provided a benchmark for third parties to

determine whether to submit a bid. The Stalking Horse Bidder has provided significant benefit

to the Debtors’ bankruptcy estates and would not have participated in the sale process absent the

Break-Up Fee and contingent Expense Reimbursement. Accordingly, the Debtors respectfully

submit that the Break-Up Fee and contingent Expense Reimbursement are warranted and

constitute a reasonable exercise of their business judgment.

         37.   The Debtors request this Court’s approval of the Bid Procedures, including the

Break-Up Fee and contingent Expense Reimbursement and the dates established thereby for an

Auction and a Sale Hearing (including shortening notice). Accordingly, the Debtors and all

parties-in-interest can be assured that the consideration for the Acquired Assets will be fair and

reasonable, and there are sound business reasons to approve the Bid Procedures.

         B.    The Assumption and Assignment of Executory Contracts and Unexpired
               Leases and the Cure Procedures

         38.   Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a debtor in

possession “subject to the court’s approval, may assume or reject any executory contract or

[unexpired] lease of the debtor.” 11 U.S.C. § 365(a). The standard governing bankruptcy court

approval of a debtor’s decision to assume or reject an executory contract or unexpired lease is

whether the debtor’s reasonable business judgment supports assumption or rejection. See e.g.,

In re Stable Mews Assoc., Inc., 41 B.R. 594, 596 (Bankr. S.D.N.Y. 1984). If the debtor’s


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business judgment has been reasonably exercised, a court should approve the assumption or

rejection of an unexpired lease or executory contract. See Sharon Steel Corp. v. Nat’l Fuel Gas

Distrib. Corp., 872 F.2d 36, 39-40 (3rd. Cir. 1989).

         39.   The business judgment test “requires only that the trustee [or debtor-in-

possession] demonstrate that [assumption or] rejection of the contract will benefit the estate.”

Wheeling-Pittsburgh Steel Corp. v. West Penn Power Co. (In re Wheeling-Pittsburgh Steel

Corp.), 72 B.R. 845, 846 (Bankr. W.D. Pa. 1987) (quoting In re Stable Mews Assoc., 41 B.R.

594, 596 (Bankr. S.D.N.Y. 1984)). Any more exacting scrutiny would slow the administration

of a debtor’s estate and increase costs, interfere with the Bankruptcy Code’s provision for private

control of administration of the estate, and threaten this Court’s ability to control a case

impartially. See Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1311 (5th Cir.

1985). Moreover, pursuant to Section 365(b)(1) of the Bankruptcy Code, for a debtor to assume

an executory contract, it must “cure, or provide adequate assurance that the debtor will promptly

cure,” any default, including compensation for any “actual pecuniary loss” relating to such

default. 11 U.S.C. § 365(b)(1).

         40.   Once an executory contract is assumed, the trustee or debtor-in-possession may

elect to assign such contract. See In re Rickel Home Ctr., Inc., 209 F.3d 291, 299 (3d Cir. 2000)

(“The Code generally favors free assignability as a means to maximize the value of the debtor’s

estate.”); see also In re Headquarters Doge, Inc., 13 F.3d 674, 682 (3d Cir. 1994)

(noting purpose of Section 365(f) is to assist trustee in realizing the full value of the

debtor’s assets).

         41.   Section 365(f) of the Bankruptcy Code provides that the “trustee may assign an

executory contract . . . only if the trustee assumes such contract . . . and adequate assurance of




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future performance is provided.” 11 U.S.C. § 365(f)(2). The meaning of “adequate assurance of

future performance” depends on the facts and circumstances of each case, but should be given

“practical, pragmatic construction.” See Carlisle Homes, Inc. v. Arrari (In re Carlisle Homes,

Inc., 103 B. R. 524, 538 (Bankr. D.N.J. 1989); see also In re Natco Indus., Inc., 54 B.R. 436, 440

(Bankr. S.D.N.Y. 1985) (adequate assurance of future performance does not mean absolute

assurance that debtor will thrive and pay rent). Among other things, adequate assurance may be

given by demonstrating the assignee’s financial health and experience in managing the type of

enterprise or property assigned. See In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr. S.D.N.Y.

1986) (adequate assurance of future performance is present when a prospective assignee of a

lease from debtor has financial resources and has expressed willingness to devote sufficient

funding to business in order to give it strong likelihood of succeeding).

         42.   Adequate assurance of future performance shall be presented at the Sale Hearing.

If necessary, the Debtors will adduce facts at the Sale Hearing to refute any objection,

demonstrating the financial wherewithal of the Successful Bidder, and its willingness and ability

to perform under any executory contracts and unexpired leases to be assumed and assigned.

The Sale Hearing therefore will provide this Court and other interested parties with ample

opportunity to evaluate and, if necessary, challenge the ability of any Successful Bidder to

provide adequate assurance of future performance under the executory contracts and unexpired

leases that the Debtors seeks to assume and assign.

         43.   Accordingly, the Debtors believe that the procedures proposed in this Motion for

executory contracts and unexpired leases being assumed and assigned on the Closing Date are

appropriate and reasonably tailored to provide Contract Notice Parties with adequate notice in

the form of the Notice of Potential Assignment and Assumption of the proposed assumption




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and/or assignment of their applicable executory contract or unexpired lease, as well as proposed

Cure Amounts, if applicable.

         44.   Furthermore, to the extent that any defaults exist under any executory contract or

unexpired lease that is to be assumed and assigned in connection with any sale of the Assets, the

Successful Bidder or the Debtors (as applicable under the Successful Bidder’s asset purchase

agreement) will cure any such default contemporaneously with or as soon as practicable after

consummation of an assumption and assignment of such executory contract or unexpired lease.

         45.   Accordingly, this Court therefore has a sufficient basis to authorize the Debtors to

assume and assign executory contracts and unexpired leases as may be set forth in any

Successful Bidder’s asset purchase agreement.

         C.    Approval of the Sale

               (i)    The Sale is an Appropriate Exercise of the Debtors’ Business
                      Judgment

         46.   Section 363(b)(1) of the Bankruptcy Code provides that a debtor, “after notice

and a hearing, may use, sell, or lease, other than in the ordinary course of business, property of

the estate.” 11 U.S.C. § 363(b)(1). Although Section 363 of the Bankruptcy Code does not

specify a standard for determining when it is appropriate for a court to authorize the use, sale or

lease of property of the estate, bankruptcy courts have found that a debtor’s sale or use of assets

outside the ordinary course of business should be approved if the debtor can demonstrate a sound

business justification for the proposed transaction. See, e.g., In re Eagle Picher Holdings, Inc.,

2005 Bankr. LEXIS 2894, at ¶ 3 (Bankr. S.D. Ohio 2005); In re Martin, 91 F.3d 389, 395 (3d

Cir. 1996); In re Abbotts Dairies of Pa., Inc., 788 F.2d 143 (3d Cir. 1986); In re Lionel Corp.,

722 F.2d 1063, 1071 (2d Cir. 1983). Once a debtor articulates a valid business justification,

“[t]he business judgment rule ‘is a presumption that in making the business decision the directors


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of a corporation acted on an informed basis, in good faith and in the honest belief that the action

was in the best interests of the company.’” In re S.N.A. Nut Co., 186 B.R. 98 (Bonier. N.D. Ill.

1995); see also In re Integrated Res., Inc., 147 B.R. 650, 656 (Bankr. S.D.N.Y. 1992); In re

Johns-Manville Corp., 60 B.R. 612, 615-16 (Bankr. S.D.N.Y. 1986) (“a presumption of

reasonableness attaches to a Debtor’s management decisions”).

         47.   The sale of a debtor’s assets is appropriate where there are sound business reasons

behind such a determination. See Myers v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir.

1996); see also Dai-Ichi Kangyo Bank, Ltd. v. Montgomery Ward Holding Corp., (In re

Montgomery Ward Holding Corp.), 242 B.R. 147, 153 (Bankr. D. Del. 1999); In re Del. &

Hudson Ry. Co., 124 B.R. 169, 176 (D.D.C. 1991); Stephens Indus., Inc. v. McClung, 789 F.2d

386 (6th Cir. 1986) (sale of substantially all assets of estate authorized where “a sound business

purpose dictates such action”).

         48.   The Debtors have negotiated the APA with the Stalking Horse Bidder, which is an

arm’s length third party with a knowledge and understanding of the Acquired Assets and their

value. The Debtors will utilize a period of time during which interested third parties may

conduct diligence into the Debtors’ assets and submit a competing bid therefor. If one or more

Qualified Bids are received in addition to the APA, the Debtors will hold an open auction and

choose which proposal will provide the maximum benefit for the Debtors’ creditors. If the APA

is the Successful Bid, it will constitute the highest and best offer for the Debtors’ assets

attainable.

         49.   In addition, all creditors and parties in interest will receive adequate notice of the

Bid Procedures and Sale Hearing as set forth above. Such notice is reasonably calculated to

provide timely and adequate notice to the Debtors’ major creditor constituencies, those parties




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most interested in these Bankruptcy Cases, those parties potentially interested in bidding on the

Acquired Assets, and others whose interests are potentially implicated by any proposed

sale transaction.

         50.    Given the Debtors’ financial condition and current circumstances, the Debtors

reasonably determined that the most effective way to preserve the value of their assets for the

benefit of all of their stakeholders is through sale of the Acquired Assets in accordance with the

process and Bid Procedures proposed in this Motion.

                (ii)    Sale Free and Clear of Liens, Claims, Interests, and Encumbrances

         51.    Section 363(f) of the Bankruptcy Code permits a debtor to sell assets free and

clear of all liens, claims, interests, and encumbrances (with any such liens, claims, interests, and

encumbrances attaching to the net proceeds of the sale with the same rights and priorities therein

as in the sold assets). Section 363(f) of the Bankruptcy Code authorizes a debtor to sell assets

free and clear of such interests in property if:

                (a)     applicable non-bankruptcy law permits a sale of such property free and
                        clear of such interest;
                (b)     such entity consents;
                (c)     such interest is a lien and the price at which such property is to be sold is
                        greater than the aggregate value of all liens on such property;
                (d)     such interest is in bona fide dispute; or
                (e)     such entity could be compelled, in a legal or equitable proceeding, to
                        accept a money satisfaction of such interest.

11 U.S.C. § 363(f).

         52.    Because Section 363(f) of the Bankruptcy Code is drafted in the disjunctive,

satisfaction of any one of its five requirements will suffice to permit the sale of the Acquired

Assets “free and clear” of all Interests. See Mich. Emp’t Sec. Comm’n v. Wolverine Radio Co.

(In re Wolverine Radio Co.), 930 F.2d 1132, 1147 n.24 (6th Cir. 1991) (stating that Bankruptcy

Code section 363(f) is written in the disjunctive; holding that the court may approve the sale


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“free and clear” provided at least one of the subsections of Bankruptcy Code Section 363(f) is

met); In re Trans World Airlines. Inc., No. 01-0056, 2001 WL 1820325, at *3 (Bankr. D. Del.

Mar. 27, 2001) (“Bankruptcy courts have long had the authority to authorize the sale of estate

assets free and clear even in the absence of § 363(f).”); Citicorp Homeowners Servs., Inc. v.

Elliot, 94 B.R. 343, 345 (Bankr. E.D. Pa. 1988) (stating that Section 363(f) of the Bankruptcy

Code is written in the disjunctive; holding that if any of the five conditions of Section 363(f) are

met, the trustee has the authority to conduct the sale free and clear of all liens).

         53.   One or more of the prongs of Section 363(f) have been satisfied with respect to

each of the Acquired Assets. The Debtors’ believe that their senior secured lender, Origin Bank,

has consented to the proposed sale provided that the Bid Procedures are followed. In addition,

notice of the Debtors’ intent to sell the Acquired Assets to the Successful Bidder free and clear

of all Interests have been provided to all of the Debtors’ creditors and other interested parties,

with ample opportunity to object. Absent objection, such parties should be deemed to have

consented to the sale free and clear of any Interest in the Acquired Assets sold, with such

Interests attaching to the proceeds of such sale. If applicable, the Debtors are prepared to

demonstrate at the Sale Hearing that they have satisfied one or more of the prongs of

Section 363(f) of the Bankruptcy Code to the extent this Motion draws objection of any

interested party.

         54.   The Debtors also request that they be authorized to disburse the proceeds of the

sale of the Acquired Assets sufficient to repay Origin Bank’s post-petition DIP loan in full and

not less than fifty percent (50%) of all excess sales proceeds (after considering all then budgeted

administrative expenses) toward satisfaction of the Pre-Petition Obligations (as defined in the

Final DIP Order), provided that, (a) the Challenge Period (as defined in the Final DIP Order)




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shall have expired on or before the closing of the Sale and (b) no party with standing has filed a

Challenge Action (as defined in the Final DIP Order) prior to the expiration of the

Challenge Period.

                (iii)   The Successful Bidder Should be Entitled to the Protections of
                        Section 363(m)

         55.    Pursuant to Section 363(m) of the Bankruptcy Code, a good faith buyer is one

who purchases assets for value, in good faith, and without notice of adverse claims. See In re

Abbotts Dairies, 788 F.2d at 147; In re Mark Bell Furniture Warehouse, Inc., 992 F.2d 7, 9

(1st Cir. 1993); In re Willemain v. Kivitz, 764 F.2d 1019, 1023 (4th Cir. 1985).

Specifically, Section 363(m) states that:

         The reversal or modification on appeal of an authorization under [section 363(b)]
         ... does not affect the validity of a sale ... to an entity that purchased ... such
         property in good faith, whether or not such entity knew of the pendency of the
         appeal, unless such authorization and such sale ... were stayed pending appeal.


11 U.S.C. § 363(m).

         56.    Section 363(m) “fosters the ‘policy of not only affording finality to the judgment

of the bankruptcy court, but particularly to give finality to those orders and judgments upon

which third parties rely.’” In re Chateaugay Corp., Case No. 92 CIV. 7054 (PKL), 1993 WL

159969, *3 (S.D.N.Y. May 10, 1993) (quoting In re Abbotts Dairies of Penn., Inc., 788 F.2d 143

at 147); see also Allstate Ins. Co. v. Hughes, 174 B.R. 884, 888 (S.D.N.Y. 1994)

(“Section 363(m) . . . provides that good faith transfers of property will not be affected by the

reversal or modification on appeal of an unstayed order, whether or not the transferee knew of

the pendency of the appeal”); In re Stein & Day, Inc., 113 B.R. 157, 162 (Bankr. S.D.N.Y. 1990)

(“pursuant to 11 U.S.C. § 363(m), good faith buyers are protected from the reversal of a sale on

appeal unless there is a stay pending appeal”).


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         57.   The Stalking Horse Bidder is a third party unrelated to the Debtors that has

conducted considerable due diligence on the Acquired Assets and negotiated the APA from an

arm’s length position. The Stalking Horse Bidder has been represented by third party legal

counsel in connection with the negotiations of the APA. If the Successful Bidder is the Stalking

Horse Bidder, the Stalking Horse Bidder will have been selected as the highest and best bid after

a sale process market-tested by the Auction. In such a case, the Debtors respectfully request that

the Stalking Horse Bidder be afforded “good faith” buyer status within the meaning of

Section 363(m) of the Bankruptcy Code.

         58.   If applicable, the Debtors will adduce facts at the Sale Hearing demonstrating that

the Successful Bidder for the Acquired Assets had negotiated at arm’s length, with all parties

represented by their own counsel. Accordingly, the Sale Order will include a provision that the

Successful Bidder for the Acquired Assets is a “good faith” buyer within the meaning of

Section 363(m) of the Bankruptcy Code.               The Debtors believe that providing any

Successful Bidder engaging in a sale transaction with such protection will ensure that the

maximum price will be received by the Debtors for the Acquired Assets, and that the closing of

any sale will occur promptly.

         D.    Relief Under Bankruptcy Rules 6004(h) and 6006(d) is Appropriate

         59.   Rule 6004(h) of the Bankruptcy Rules provides that an “order authorizing the use,

sale or lease of property . . . is stayed until the expiration of 14 days after entry of the order,

unless the court orders otherwise.” Additionally, Rule 6006(d) of the Bankruptcy Rules provides

that an “order authorizing the trustee to assign an executory contract or unexpired lease . . . is

stayed until the expiration of the 14 days after the entry of the order, unless the court orders

otherwise.” The Debtors request that the Bid Procedures Order and the Sale Order be effective




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immediately by providing that the 14-day stays applicable under Rules 6004(h) and 6006(d) of

the Bankruptcy Rules be waived.

                                            NOTICE

         60.   Notice of this Motion has been given to the following parties, or in lieu thereof, to

their counsel: (a) the parties identified on the Master Service List in these Bankruptcy Cases as

approved by this Court’s Order Establishing Notice and Administrative Procedures

[Docket No. 33], and (b) via electronic mail on all persons or entities known or reasonably

believed to have asserted an interest in purchasing the Acquired Assets. The Debtors will also

serve a Notice of Hearing on this Motion: (i) on the entire creditor matrix in each of the

Bankruptcy Cases and (ii) via electronic mail on all persons or entities known or reasonably

believed to have an interest in purchasing the Acquired Assets. In light of the nature of the relief

requested, the Debtors respectfully submit that no further notice is necessary.

                                     NO PRIOR REQUEST

         61.   No prior motion for the relief requested in this Motion has been made to this

Court or any other court.




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         WHEREFORE, the Debtors request that this Court: (i) enter the Bid Procedures Order,

(ii) approve the form of the Sale Notice and to the extent necessary shorten notice thereto,

(iii) approve the form of the Notice of Assumption and Assignment and to the extent necessary

shorten notice thereto, (iv) enter the Sale Order (if applicable), and (v) grant the Debtors such

other and further relief as the Court may deem just and appropriate.

         Respectfully submitted this 10th day of September 2019.


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